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United States District Court

NORTHERN DlSTRlCT OF TEXAS
DALLAS DIVIS}ON

ARTHRITIS TREATMENT OF
TEXAS, PLLC

ClViL ACTION NO. 3:l6-CV-3470-S

ALEX M. AZAR il, Secretary,
UNITED STATES DEPARTMENT OF
HEALTH & HUMAN SERVICES

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MEMORANDUM OPINION AND ORDER

This Order addresses Defendant’s Motion to Dismiss [ECF No. 38]. For the reasons set

forth below, the Motion is granted
I. BACKGROUND

Pursuant to Special Order 3-318, this case was transferred from the docket of ludge Sidney
A. Fitzwater to the docket of this Cotirt on l\/larch 8, 2018.

The instant iawsuit arises out of a disputed Medieare overpayment Medicare covers
durabie medicai equipment furnished to beneficiaries by suppfiers, such as Plaintiff Ai“thritis
Treatrnent of Texas, PLLC (“Plaintifi°’). Second Am. Compl. 11 15. F ederal contractors known as
Zone Program lntegrity Contractors (“ZPIC”s) investigate instances of suspected Medicare fraud,
waste, and abuse and identify improper payments to be coilected by administrative contractors
Id. jt 16. A ZPIC makes an overpayment determination when it finds that Medieai'e has paid for
goods supplied to a Medicare beneficiary in excess of What is allowable under the applicable
statutes and regulations Mot. to Dismiss 1-2. If a ZPIC determines that a durable medical

equipment supplier Was overpaid, the supplier can appeal that determination Second Arn. Cornpl.

 

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il 17. Federal regulations establish a four-part administrative appeal process l\/lot. to Dismiss 2~
3.

First, a dissatisfied supplier may request a redetermination by a contractor. Second Am.
Compi. il 17. lf the supplier is dissatisfied with the redetermination decision, it may request a
reconsideration by a different contractor, known as a Qualified lndependent Contractor (“QIC”).
Id. if the suppiier is dissatisfied with the reconsideration decision, it may request an
Administrative Law Judge (“ALJ”) hearing.] Id. 1{ iS. Finally, the supplier may request review
of the ALJ’s decision by the l\/iedicare Appeals Council (the “Council”). Id. The Councii’s
decision is considered the final agency action for purposes of judicial review. Id.

On March 29, 20i6, Health lntegrity, L.L.C., a ZPIC, determined that Piaintiff had been
overpaid by $1,560,771.05 for l\/t'edicare claims submitted between ianuary l, 2014, and May 31,
2015. Id. il 22. 'i`he ZPIC reviewed a sample of 35 claims and found an overpayment of
$63,225.23. ]d. lt then extrapolated the total overpayment using statisticai samplingl Id.

On April 6, 2016, CGS Administrators (“CGS”)2 formally notified Piaintiff of the
overpayment Id. il 23. The notice allegediy was not accompanied by any of the statistical data
used to caiculate the overpayment and did not include evidence regarding the audit [d. On or
about Aprii 25, 2016, Plaintiff requested a redetermination of the overpayment ld. il 24. in
seeking redetermination, Plaintiff argued that the ZPIC had failed to adhere to statutory and

regulatory guideiines and that the “Radio Estimator” methodoiogy used to calculate the alleged

 

‘ Regardless of whether the suppiier seeks ALJ review, Defendant may initiate recoupment of the alleged overpayment
after the reconsideration decision is issuedl Second Arn. Compl. il 2. To recoup the overpayment, Defendant is
permitted to withhold 100% of the suppiier’s incoming Medicare payments Id. chever, Defendant is required to
make a repayment plan avai§abie to the supplier when repayment poses a hardshipl lai jt 19. Hardship is deemed to
exist where “the aggregate amount of the overpayment exceeds 10 percent ot` the amount paid . . . to the supplier . . .
t`or the cost reporting period covered by the most recentiy submitted cost report.” ld. (quoting 42 U.S.C. §
1395ddd(t)( l )(B).

2 CGS is the federal contractor that made the payment of durable medical equipment claims at issue in this case.
Second Am. Compl.tl 16.

 

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overpayment was not conducted pursuant to applicable guidelines Id. il 25. On July 28, 2016,
CGS issued an unfavorable redetermination decision sustaining the overpayment determination
ld. ‘|l 26.

Plaintiff requested a reconsideration of CGS’s decision Id. On December 21, 2016, the
QlC issued a reconsideration decision that was unfavorable to Piaintiff as to the 35 claims that
comprised the sample. ld. il 27. However, the QIC set aside the statistical sampling methodology
used to calculate the extrapolated overpayment Id. Specificaliy, the QIC found that (i) the sample
size used by the ZPIC was not adequate to justify the demand amount; and (2) the overpayment’s
calculation required a more conservative extrapolation Id. il 28.

On l\/lay 3 l , 201?, CGS issued a revised demand that re-extrapolated the overpayment ]d.
il 29. CGS allegedly did not disclose the methodology it used in calculating the new demand
amount Id. The new overpayment amount was $l,461,961.00. Id. CGS advised Plaintiff that it
could appeal the new amount at the ALJ level. Id.

Plaintiff appealed the new amount to the ALJ level and then filed suit in this Court.
Plaintiff seeks a writ of mandamus compelling Defendant Alex l\/l. Azar ll, Secretary of Health
and Human Services (“Defendant”), to recalculate the Medicare overpayment Id. ilil 30-31.
Plaintiff claims that the amount should be limited to $63,225.23, “the actual amount of the
overpayment.” ltd il 31. In the alternative, Plaintiff seeks a declaratory judgment in the form of a
reconsideration decision that recalculates the overpayment amount and limits it to $63,225.23. Id.
142 Because even the lower overpayment amount is weil over 10 percent of Plaintiff` s prior year
l\/ledicare payments, Plaintiff also seeks a repayment plan. Id. ii 32. Finally, Plaintiff seeks a
preliminary injunction preventing Defendant from initiating recoupment to collect the alleged

$l,461,961 overpayment Id. 341

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II. LEGAL STANDARDS
A. Rm'e 12(b)(1)

Under the Constitution, a federal court may decide only actual cases or controversies U.S.
CONST. art. lll, § 2. A court properly dismisses a case where it lacks the constitutional power to
decide it. See Hc)me Builders Ass’n ofMiss., Inc. v. City ofMadz'son, l43 F.3d 1006, 1010 (5th
Cir. 1998). Dismissal for lack of subject-matter jurisdiction is warranted when “it appears certain
that the plaintiff cannot prove any set of facts in support of his claim that would entitle plaintiff to
relief.” Gilbert v. Donahoe, 75l F.3d 303, 307 (5th Cir. 2014) (quoting Ramrm'ng v. Unirea' Srntes,
281 F.3d 158, 161 (Sth Cir. 2001)). The party asserting jurisdiction bears the burden of proving
that jurisdiction exists. Ramming, 281 F.3d at 161. “When a Rule 12(b)(1) motion is filed in
conjunction with other Rule l2 motions, the court should consider the Rule i2(b)(l) jurisdictional
attack before addressing any attack on the merits.” Id.

B. Rule 12(!))(6)

To defeat a motion to dismiss filed pursuant to Federal Ruie of Civil Procedure l2(b)(6), a
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Beil Arl.
Corp. v. Twombly, 550 U.S. 544, 570 (2007); Refr`able Corrsulrnnts, lnc. v. Earle, 517 F.3d 738,
742 (Sth Cir. 2008). To meet this “facial plausibility” standard, a plaintiff must “plead[} factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcrofr v. Iqbal, 556 U.S. 662, 678 (2009). Plausibility does not require
probability, but a plaintiff must establish “more than a sheer possibility that a defendant has acted
unlawfully.” Id. 'fhe court must accept well-pleaded facts as true and view them in the light most
favorable to the plaintiff Sonm'er v. Sr.‘nre Fcn"m Mtrr. Auro. first Co., 509 F.3d 673, 675 (5th Cir.

2007). However, the court does not accept as true “conclusory allegations, unwarranted factual

 

 

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inferences, or legal conclusions.” Ferrer v. Clrevron Corp., 484 F.3d 7?6, 780 (5th Cir. 2007). A
plaintiff must provide “more than labels and conclusions, and a formulaic recitation of the elements
cfa cause of action will not do.” Twombly, 550 U.S. at 555 (internal citations omitted). “F actual
allegations must be enough to raise a right to relief above the speculative level . . . on the
assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. (internal
citations omitted).

The ultimate question is whether the complaint states a valid claim when viewed in the
light most favorable to the plaintiff Grent Plains Tr'. Co. v. Morgcm Srcmley Decm Wz'trer & Co.,
313 F.3d 305, 312 (5th Cir. 2002). At the motion to dismiss stage, the court does not evaluate the
plaintiff’s likelihood of successl lt only determines whether the plaintiff has stated a claim upon
which relief can be granted. Mann v. Adams Renlry Co., 556 F.2d 288, 293 (5th Cir. 1977).

III. ANALYSIS
A. Subjecf-Matter Jurisdiction

Under 42 U.S.C. § 405(g) and (h), federal courts only have jurisdiction over a “final
decision” of the United States Department of l~lealth and Human Services when dealing with
claims “arising under” the Medicare Act.3 anily Rehab., lnc. v. Azar, 886 F.3d 496, 500 (5th
Cir. 2018). A supplier may receive a final decision by: (l) satisfying all four stages of
administrative appeal and receiving a decision from the Council; or (2) escalating its claim to the
Council and waiting l80 days for the Council to act or fail to act. Id. at 500-01 (citing 42 U.S.C.

§ 405(§),@1);42 c.F.R. § 405.1132).

 

3 Although §405(g) is a provision ofthe Social Security Act, it has been made applicable to Medicare by 42 U.S.C. §
l395ff(b)(l}(A). Famr'!y Rehnb., hrc v. Aza)‘, 886 F.3d 496, 500 n.4 (Sth Cir. 2018). And, § 405(h) has been made
applicable to l\/ledicare by 42 U.S.C. § 13951i. P/rysicinn Hosps. of/lm. v. Sebe!ius, 691 F.3d 649, 653 (5th Cir. 20l2).

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Despite Plaintiff’s failure to obtain a final decision in the instant case, it invokes several
bases for jurisdiction First, Plaintiff contends that the Court has mandamus jurisdiction Second,
Plaintiff argues that certain exceptions to the channeling requirements of § 405 apply. f`inally,
Plaintiff relies on the Administrative Procedure Act (“APA”).

i. Mandamus Jurisdi.crion

The Court must determine first whether it has jurisdiction over Plaintiff’s claim for
mandamus relief under 28 U.S.C. § 1361. “The district courts shall have original jurisdiction of
any action in the nature of mandamus to compel an officer or employee of the United States or any
agency thereof to perform a duty owed to the plaintiff.” 28 U.S.C. § 1361. A writ of mandamus
should issue only in “extraordinary situations.” [{err v. U.S. Disr. Courr, 426 U.S. 394, 402 (1976).
l\/landamus jurisdiction exists only if the plaintiff seeks “to compel an officer or employee of the
United States or its agencies to perform an allegedly nondiscretionary duty owed to the plaintiff.”
RandallD. Wo[cntr, M.D., P.A. v. Sebefius, 635 F.3d 257, 766 (5th Cir. 201 1). A writ ofmandamus
“is intended to provide a remedy for a plaintiff only if he has exhausted all other avenues of relief
and only if the defendant owes him a clear nondiscretionary duty.” Heckler v. Ringer, 466 U.S.
602, 616 (1984).

The Couit finds that mandamus jurisdiction does not exist in the instant case for two
reasons. First, Defendant did not owe Plaintiff a clear nondiscretionary duty. Plaintiff claims that
42 U.S.C. § 1395ff(c) and the l\/ledicare Program Integrity l\/lanual (“MPll\/l”) give rise to
Defendant’s nondiscretionary duty “to render a correct and complete reconsideration decision”
and to “limit[] the overpayment amount to $63,225.23.” Second Am. Compl. il 31. However,

neither § 1395ff(c) nor the MPIM creates such a clear nondiscretionary duty.

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Plaintiff‘s argument regarding § l395ff(c) is unclear. fn the Second Amended Complaint,
Plaintiff states that Defendant has a duty to render a complete and correct reconsideration decision
'l`lie relief Plaintiff seekswliniiting the overpayment determination to a set amounteaseems to go
only to the “correctness” of the decision, while § 1395ff(c) goes to its “completeness.” Subsection
(3)(E), which Plaintiff relies on its response brief, requires reconsideration decisions to include “a
detailed explanation of the decision as well as a discussion of the pertinent facts and applicable
regulations applied in making such decision.” 42 U.S.C. § l395ff(c)(3)(13). Plaintiff complains
that it “has been provided with Zero information on the methods Health integrity used to revise the
calculation” and seeks “to compel [Defendant and its] contractors to provide proper notice and
disclosures.” Resp. ll. Even if the Court were to overlook the fact that the relief sought in
Plaintiff’s response (provision of notice and disclosures) is not mentioned in the Second Amended
Complaint, the Couit finds that Plaintiff has failed to point to a clear nondiscretionary duty that
Defendant did not perform

"l"he MPIM goes to the “correctness” of the decision The MPIM gives a contractor three
options if the decision issued on appeal contains a finding that the sampling methodology used by
the contractor was invalid.‘s The contractor can revise the overpayment determination after
correcting errors in the sampling methodology, elect to recover only the actual overpayment and
then initiate a new review, or conduct a new review. MPll\/l § 8.4.9.1. l-lere, the contractor availed
itself of the first option and corrected errors in its sampling methodology to arrive at a revised
overpayment determination While the contractor had the option to provide the relief Plaintiff

seeks by selecting the second option, it did not have a clear nondiscretionary duty to do so.

 

“ C'I‘Rs. FoR MaorcAlD & MEDlCAlD Sst., MEnlCARE PRooRAM INTEoRrrY MANUAL ch. 8, § 8.4.9.1,
https://www.cms.gov/Regu]ations-ancl-Guidance/Guidance/Manuals/Downioads/pim83c08.pdf[hereinaf`ter l\/iPIl\/t}.

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As to Plaintiff’ s claim that the Court should order Defendant to offer Plaintiff a repayment
plan, Plaintiff has not alleged any facts showing that it has requested a repayment plan A supplier
must request a repayment plan before Defendant’s duty to provide one arises 42 U.S.C. §
l395ddd(f)(1)(A) (“[U}pon request of the . . . supplier the Secretary shall enter into a [repayment]
plan with the . . . supplier . . . .”). 'i`hus, the Court finds that Defendant did not owe Plaintiff a duty
to offer a repayment plan

Second, the Court finds that mandamus jurisdiction is lacking because Plaintiff has not
exhausted all other avenues of relief and still can avail itself of the administrative appeal process
Plaintiff argues that the administrative exhaustion requirement does not preclude mandamus
jurisdiction because the exercise of such jurisdiction is necessary to “review otherwise
unreviewable procedural issues.” Wolcotf, 635 F.3d at 766; see also Family Rehab., 886 F.3d at
506 (rejecting notion that exhaustion is always required before courts may exercise mandamus
jurisdiction). Wolcorr is distinguishable, as it involved a l\/ledicare provider that had obtained
favorable final administrative decisions 635 F.3d at 762. ln that case, the Secretary and l\/ledicare
contractor allegedly would not make the payments mandated by those final decisions Id. On
those facts, the Fifth Circuit determined that the Wolcor! provider did not “seek a redetermination
of administrative decisions concerning its right to benefits, but rather the enforcement of these
administrative decisions and a review of . . . otherwise unreviewable procedural issues.” Iul. at 764-
65.

Here, by contrast, Plaintiff has neither obtained a final administrative decision nor offered
a compelling reason why its concerns with the overpayment calculation cannot be addressed by

the ALJ and, if necessary, the Council. Unlike in Wolcorr, Plaintiff has identified no unreviewable

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procedural issues, and Plaintiff must exhaust its administrative remedies before bringing suit in
federal court.

For the foregoing reasons, the Court holds that it does not have mandamus jurisdiction over
the instant action

ii. Declm'atory Judgmem

lf Piaintiff’s request for a writ of mandamus is denied, it requests declaratory relief in the
alternativel Defendant argues that there is no federai~questionjurisdiction under 28 U.S.C. § 1331
because 42 U.S.C. § 405(h) precludes suchjurisdiction over all claims arising under the l\/ledieare
Act absent exhaustion of administrative appeais. A claim arises under the l\/iedicare Act if (l) it
is “inextricably intertwined” with a benefits determination; or (2) “both the standing and
substantive basis for the presentation” of the claim is the l\/ledicare Act. anger, 466 U.S. at 614-
i5 (quoting Weinberger v. Salfz, 422 U.S. 749, 760-61 (l975)). The phrase “arising under” is
construed “quite broadly” and includes not only actions seeking an award of benefits but also
actions seeking deciaratory and injunctive relief. [d. Because Plaintiff is seeking a declaratory
judgment regarding how its overpayment determination should be handled, its claim arises under
the l'\/Iedicare Act. CfTex. Med. Enters. v. Sebelius, Civ. A. l\lo. 9:13-€\/~27, 2013 WL 3215760,
at *3-*4 (E.D. Tex. June 24, 2013) (finding that provider’s suit concerning repayment of
overpayment was inextricably intertwined with claim for benefits and arose under l\/iedicare).
Notwithstanding the fact that Plaintiff` s claims arise under the Medicare Act, Plaintiff argues that

certain exceptions imbue the Court with jurisdiction

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a. Clamlesrr'ne Agency Poh'cy Excepti.on

First, Plaintiff alleges that the “clandestine agency policy exception” applies because the
failure to correctly revise an overpayment demand constitutes a fixed clandestine policy. See
Second Am. Compl. ll l l',Boi/ven v. Cin of New l’ork, 476 U.S. 467 (1986) (explaining clandestine
agency policy exception). This exception does not apply under these facts because the relevant
standards and procedures are published in the United States Code and the Code of Federal
Regulations, so they are not clandestine Further, the QIC gave Plaintiff notice of its decision
Although Plaintiff takes issue with that decision, the clandestine agency policy exception does not
apply where a plaintiff alleges failure to comply with applicable regulatory or statutory directives
See, e.g., Ciry of New l’or/c, 476 U.S. at 484-85 (noting that jurisdiction is not available where
plaintiff alleges “mere deviation from the applicable regulations” because “such individual errors
are fully correctable upon subsequent administrative review”); Home Health Innovatz`ons, Inc. v.
Sebe[ius, No. SA-l4~CA-l24, 2014 WL i254()881, at *4 (W.D. Tex. Feb. 18, 2014) (finding
clandestine agency policy exception inapplicable where provider alleged only that regulations
were misapplied to it).

b. Collateral Claim Exception

Plaintiff also alleges that the “entirely collateral Constitutional claim” exception applies
because it has asserted a Fifth Amendrnent due process claim. See Second Am. Cornpl. 1ll2‘,
Mothews v. Eldrr`dge, 424 U.S. 319, 330-32 (1976) (outlining collateral claim exception). For a
claim to be considered collateral, it must not require the Court to delve into the substance of the
underlying l\/ledicare ciaim, demand a determination as to the application of the l‘\/Iedicare Act, or
“request relief that would be ‘administrative,’ i.e., the substantive, permanent relief that the

plaintiff seeks or should seek through the agency appeals process.” Family Rehab., 886 F.3d at

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501 (citing A_jj?liafed Prof’l Home Heolfh Core Agency v_ Shalala, 164L F.3d 282, 285-86 (5th Cir.
l999)). 'l` he exception does not apply if the constitutional claim is “‘ inextricably intertwined’ with
a substantive claim of administrative entitlement.” Ajfz!r'crted Prof’[, l64 F.3d at 286 (quoting
Ringer, 466 U.S. at 6l l). However, if the plaintiff “asserts a collateral challenge that [cannot] be
remedied after the exhaustion of administrative review,” courts may deem the administrative
exhaustion requirement waived. ]d. at 285.

Here, Plaintiff’s purported due process claim is inextricably intertwined with the claim for
reduction of the overpayment determination Plaintiff argues that, by refusing to enforce the
partially favorable decision and by delaying notice and withholding evidence, Defendant has
violated Plaintiff"s right to due process l-Iowever, the relief Plaintiff seeks is administrative and
effectively would increase the amount of Medicare benefits it receives by having the overpayment
determination reduced to a set amount~$63,225.23. Thus, Plaintiff`s constitutional claim is
intertwined with its claim for benefits See Griego v. Leov:`rf, Civ. A. No. 3:07-CV-l708-D, 2008
WL 2200052, at *10 (N.D. Tex. May 16, 2008) (holding that claim seeking prevention of
recoupment of alleged overpayment was not collateral because preventing recoupment would give
plaintif “a greater entitlement to present or future Medicare benefits”).

Not only has Plaintiff failed to show that its constitutional claim is separate from its claim
for benefits, but also Plaintiff has failed to show that its due process claim cannot be remedied by
the administrative appeals process Plaintiff relies on Morhews, in which the Supreme Court found
that a claim to a pre-deprivation hearing rested on the proposition that full relief could not be
obtained at a post-deprivation hearing. 424 U.S. at 331. The Court held that the Marhews plaintiff
had established a colorable constitutional claim to benefits and that an erroneous termination

would not he recompensable through retroactive payments Id. at 331-32. Thus, the Court

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concluded that his constitutional challenge was “entirely collateral.” lot at 331. ln the instant case,
Plaintiff argues, “lnasmuch as no administrative appeal rights are extended to Plaintiff . . .
Plaintiff’s Due Process claim must he entirely collateral of any benefits claim.” Resp. 13. Plaintiff
provides no support for the proposition that no administrative appeal rights have been extended to
it. Plaintiff can, and has, appealed the decision to the AL.l. if the ALJ’s decision is unfavorable,
Plaintiff can appeal it to the Council. See, e.g., Home Healfh Innovorr`ons, 2014 WL 12540881, at
*4 (“[B]ecause the Regulations permit the administrative review process to resolve Plaintiff’s
issue, exhaustion of administrative remedies would not be futile.”). Therefore, the Court finds that
the collateral claim exception does not apply in this case.
c. No Review at AH

Plaintiff relies on Shalcrla v, ]llr`noi`s Cotmci.l on Long Term Care, Inc. to assert that this
Court has jurisdiction because § 405 “would not simply channel review through the agency, but
would mean no review at al].” 529 U.S. l, 19 (2000); Second Am. Compl. jj 10. in analyzing this
exception, the Fifth Circuit has stated that “[c]hanneling [through the administrative process] will
he required unless plaintiffs can show there is no way of having their claims reviewed, there is
complete preclusion, or there exists a serious practical roadblock to having their claims reviewed
in any capacity, administratively or judicially.” Physician Hosps, ofAm., 69l F.3d at 655 (internal
quotation marks and citations omitted). As stated above, Plaintiff can have its claim reviewed by
appealing to the ALJ and, later, the Council. Plaintiff reiterates its argument that review is
unavailable because the contractors did not disclose evidence necessary for a due process challenge
to the extrapolated overpayment and because Plaintiff “was forced to seek ALJ review and protect

its appeal rights without knowing how much of the overpayment it was contesting.” Resp. l9.

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llowever, Plaintiff has not demonstrated that it cannot raise these arguments at the ALJ levei.
Thus, the Court finds that the “no review at all” exception does not apply.
d. Administmti.ve Procedure Act

Finaliy, Plaintiff asserts that the Court has jurisdiction pursuant to the APA. Second Am.
Compl. ll 9. However, the APA does not provide an independent grant of subject-matter
jurisdiction Stookman v. Fed. Election Comm’n, l38 F.Bd l44, 151 n.l3 (5th Cir. 1998) (“{T]he
APA does not create an independent grant of jurisdiction to bring suit.”). Where, as here, § 405(g)
is the sole basis for judicial review, courts do not have jurisdiction under the APA. Tex. Med.
Enrers., 2013 WL 32l5760, at *4 (citing Cr'mdel Heolfl?care Servs., Ino_ v. Sebelr`us, Civ. A. No.
3:lO-CV-l077~BH, 20l0 Wl, 5l01389, at *6 (N.D. Tex. Dec. 8, 2010)). Accordingly, this Court
does not have jurisdiction under the APA.

B. F ailure to State a Claim

Because the Court does not have jurisdiction over this action, it does not reach Defendant’s

alternate motion to dismiss under Rule l2(b)(6).
IV. CONCLUSION

Because the Court lacks subject-matter jurisdiction the Court grants Defendant’s l\/lotion
to f)ismiss without prejudice

SO ORDERED.

siGNED December- /frf, 2018. /@@@,§W

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

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